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                      UNITED STATES DISTRICT COURT

                              DISTRICT OF MAINE


  UNITED STATES OF AMERICA,                )
                                           )
                                           )
  V.                                       )   CRIMINAL NO. 2:08-CR-67-DBH-01
                                           )
  STANLEY JENKINS,                         )
                                           )
                          DEFENDANT        )


                 ORDER ON MOTION TO MODIFY SENTENCE


       The defendant seeks a sentence modification under 18 U.S.C. § 3582(c) on

 account of the lowered Guideline sentencing ranges established in Amendment

 782 for cocaine base (crack cocaine). The government opposes any sentence

 reduction. In sentencing the defendant in 2009, I did not make a specific crack

 quantity finding, but instead, at the parties’ request, used a quantity range that

 generated a particular Base Offense Level. Under the amended Guidelines, that

 quantity range now covers two different Base Offense Levels. The defendant

 argues that he should get the benefit of the lower level; the government argues

 that he should be held responsible for the higher level. I apply the lower level

 and reduce the defendant’s sentence.

                                   BACKGROUND

       In the Presentence Report for the 2009 sentencing, the Probation Officer

 calculated a specific crack quantity for which he recommended that the

 defendant be held accountable.       Presentence Report ¶ 6.       But both the

 government and the defendant objected to that calculation, and the government
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 stated that because of witness problems it could not prove the amount that the

 Probation Officer proposed.             See Addendum to the Presentence Report

 (“Addendum”), pp. 17-18.1 Ultimately, I accepted a written plea agreement that

 created a binding stipulation under Fed. R. Crim. P. 11(c)(1)(C) that the drug

 quantity for which the defendant was responsible was 500 grams to 1.5

 kilograms of crack. See Agreement to Plead Guilty (With Stipulations and Appeal

 Waiver) (ECF No. 212), p. 3.2 That 500g to 1.5kg range generated a Base Offense

 Level of 34 under the then applicable Guidelines. See U.S.S.G. § 2D1.1(c)(3)

 (2008). The defendant’s Total Offense Level was 37 and his Criminal History was

 Category III.       His sentencing range therefore was 262 to 327 months

 imprisonment. Applying the section 3553(a) statutory factors, see United States

 v. Booker, 543 U.S. 220, 245 (2005), I varied downward from that range and

 sentenced him to 210 months.

        But 500g to 1.5kg is no longer a definitive marker. Instead, a quantity of

 840g to 2.8kg of crack now generates a Base Offense Level of 32, while a quantity




 1 The Addendum stated:

               The government believes the PSR overstates the drug quantity it
               can prove. The government notes one particular witness that could
               potentially provide testimony to support a portion of the drugs
               calculated in the PSR would “likely assert his/her Fifth
               Amendment right against self-incrimination.” In addition, the
               government would not call other cooperating defendants to testify
               in light of the stipulation between the parties to a drug quantity
               between 500 grams and 1.5 kilograms of cocaine base, resulting in
               a base offense level 34.
 Addendum, p. 17.
 2 The government says that the parties agreed to the stipulation after the presentence report was

 prepared. Gov’t’s Objection to Court’s Sua Sponte Mot. to Modify Sentence (“Gov’t’s Objection”)
 (ECF No. 395), p. 1. However, the plea agreement containing the stipulation is dated
 February 25, 2009, whereas the presentence report was prepared on April 15, 2009, and revised
 on May 13, 2009.

                                                                                                2
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 of 280g to 840g generates a Base Offense Level of 30.3 Those Base Offense Levels

 generate Total Offense Levels of 35 and 33 when applied to this defendant and,

 with a Criminal History of III, Guideline prison ranges of 210 to 262 months and

 168 to 210 months, respectively.

        Therefore, the Guideline range for this defendant is lower than that applied

 in 2009 regardless of whether he is responsible for more than, or less than, 840

 grams. But my original sentence of 210 months applied the Booker factors to

 “vary” below the then applicable Guideline range.                   A court applying the

 retroactive crack quantity amendments cannot sentence below the minimum

 sentence of the new Guideline range. See U.S.S.G. § 1B1.10(b)(2)(A). Thus, if

 the defendant’s new Guideline range should be 210 to 262 months, he cannot

 obtain a reduction because his original sentence was already at the bottom of

 that new range. But if the Guideline range of 168 to 210 months applies, the

 defendant can seek a reduction because his sentence could be as low as 168

 months, far lower than the original sentence.

                                           ANALYSIS

        In circumstances like these where the original sentencing judge did not

 make a specific drug quantity calculation, the circuit courts generally have ruled

 that the “modification judge” (here, I am both the original sentencing judge and


 3 The Guidelines changed the relevant quantity markers to 280-840 grams and 840 grams to 2.8

 kilograms in Amendment 750. See United States Sentencing Commission, Guidelines Manual,
 App. C-Vol. III, Amendment 750, at 391-98 (Nov. 1, 2011) (re-promulgating as permanent the
 previously temporary, emergency amendments implementing the Fair Sentencing Act). Most
 recently, the Commission reduced the Base Offense Levels for each of these crack quantity ranges
 to their current levels. See United States Sentencing Commission, Guidelines Manual, Suppl. to
 App. C, Amendment 782, at 65 (Nov. 1, 2014); see also Amendment 788, at 87 (Nov. 1, 2014)
 (Amendment 782 may be applied retroactively). For simplicity’s sake, I will refer to the “crack
 quantity amendments.”
                                                                                               3
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 the modification judge) should review the entire record that was before the

 original sentencing judge and make a determination, by a preponderance of the

 evidence, of the quantity for which the defendant is responsible (without

 contradicting any earlier findings). See, e.g., United States v. Wyche, 741 F.3d

 1284, 1293 (D.C. Cir. 2014); United States v. Anderson, 707 F.3d 973, 975 (8th

 Cir. 2013); United States v. Battle, 706 F.3d 1313, 1319 (10th Cir. 2013); United

 States v. Valentine, 694 F.3d 665, 670 (6th Cir. 2012); United States v. Hall, 600

 F.3d 872, 876 (7th Cir. 2010).         I am unable to make such a quantity

 determination on the record alone. What the record consists of is the defendant’s

 admission at his guilty plea to the prosecution version that asserted a quantity

 of “over 50 grams of cocaine base.” See Gov’t’s Am. Version of the Offense (ECF

 No. 187), pp. 3-4. I also have the Probation Officer’s proposed drug quantity in

 the Presentence Report at the original sentencing, but it is entitled to no weight

 because both parties agreed that it could not be proven and because I accepted

 the Plea Agreement stipulation of 500g to 1.5kg. There was no other evidence

 presented, and thus the record alone does not permit me to determine whether

 the defendant should be held responsible for more than, or less than, 840 grams

 of crack.

       In opposing any reduction, the government says “that the Court must

 make specific findings that the drug quantity involved in this offense results in

 a lower sentencing guideline range. Without such a finding, the defendant has

 failed to establish he is eligible for a sentencing modification.” Gov’t’s Objection,

 pp. 1-2. I have made that finding. As I said above, the new Guideline range is

 lower, regardless of where the defendant fits within the quantity range.
                                                                                    4
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 Nevertheless, the question remains which of the two possible Guideline ranges

 applies. Under the higher range, my 2009 variant sentence gave the defendant

 all that he can obtain.         But under the lower range, he can seek a further

 reduction.     On the factual issue of precisely what crack quantity should be

 assigned to him, the evidence is in equipoise.                Where a factual issue is in

 equipoise, the conventional way to resolve the decisional dilemma is through

 burden allocation.4

        The statutory basis for a sentence modification like that requested here is

 18 U.S.C. § 3582(c)(2). It states:

                [I]n the case of a defendant who has been sentenced to a term
                of imprisonment based on a sentencing range that has
                subsequently been lowered by the Sentencing Commission
                pursuant to 28 U.S.C. 994(o), upon motion of the defendant
                or the Director of the Bureau of Prisons, or on its own motion,
                the court may reduce the term of imprisonment, after
                considering the factors set forth in section 3553(a) to the
                extent that they are applicable, if such a reduction is
                consistent with applicable policy statements issued by the
                Sentencing Commission.

 There is no mention of burden allocation. The pertinent Guideline states:

                In a case in which a defendant is serving a term of
                imprisonment, and the guideline range applicable to that
                defendant has subsequently been lowered as a result of an
                amendment to the Guidelines Manual listed in subsection (d)
                below, the court may reduce the defendant’s term of
                imprisonment as provided by 18 U.S.C. 3582(c)(2). As
                required by 18 U.S.C. 3582(c)(2), any such reduction in the


 4 The Probation Officer recommended a sentence reduction in the 2015 Revised Presentence
 Report on the basis of the “Rule of Lenity.” I agree with the government, see Gov’t’s Objection,
 p.1, that this is not really a rule of lenity case. See United States v. Almonte, 493 Fed. App’x
 830, 832 (8th Cir. 2012) (declining to apply the rule of lenity in sentence modification context
 because the relevant statutory language is not ambiguous); Yates v. United States, 135 S. Ct.
 1074, 1088 (2015) (discussing the rule of lenity as a tool to interpret ambiguous criminal
 statutes). But the Probation Officer was on the right track, as my analysis reveals and as the
 Tenth Circuit reflects, in urging that the court “err on the side of caution.” Battle, 706 F.3d at
 1320 (citation omitted).

                                                                                                 5
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               defendant’s term of imprisonment shall be consistent with
               this policy statement. . . .

               A reduction in the defendant’s term of imprisonment is not
               consistent with this policy statement and therefore is not
               authorized under 18 U.S.C. 3582(c)(2) if—
               ...
               (B) An amendment listed in subsection (d) does not have the
               effect of lowering the defendant’s applicable guideline range.

 U.S.S.G. § 1B1.10(a).5 Once again, there is no mention of burden allocation.

        The circuits are divided on how to proceed in such a case (the First Circuit

 has not spoken). The Ninth Circuit says that once a defendant shows that an

 amendment applies to him:

               Since the district court, in deciding whether, and to what
               extent, a reduction in sentence is warranted, must consider
               what sentence it would have imposed had [the amendment]
               been in effect at the time the defendant was sentenced,
               U.S.S.G. § 1B1.10(b), the burden of proof shifts to the
               government to establish the base offense level, that is, the
               weight of the controlled substance.

 United States v. Sprague, 135 F.3d 1301, 1307 (9th Cir. 1998) (emphasis added)

 (applying Amendment 484, which excluded the weight of certain components of

 a controlled substance mixture from drug quantity).                 In Battle, the original

 sentencing finding was “well in excess of 1.5 kilograms.” 706 F.3d at 1316. At

 the modification stage, the Tenth Circuit did not use the language of burden, but

 that of caution. It said: “given the complete absence of evidence of drug quantity

 within [a particular] range, the district court was required to ‘err on the side of

 caution,’ and not rely on a ‘theoretical maximum amount’ of cocaine base

 involved.”    706 F.3d at 1320 (emphasis added) (citations omitted).                     It then

 remanded for resentencing at the bottom of the range that the record would


 5 The relevant portions of the crack quantity amendments are listed in subsection (d).

                                                                                                6
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 support.6 Thus, in both the Ninth and Tenth Circuits, any inadequacy of proof

 on drug quantity favors the defendant at the modification stage.7

        But the Eleventh Circuit reached a contrary conclusion on who bears the

 burden at modification. In a case where the sentencing judge originally found a

 defendant responsible for “at least” a certain quantity of crack without further

 specificity, the Eleventh Circuit said:

                If, after examining the findings it made at the initial sentence
                proceedings and, if those are inadequate, after looking at the
                record and materials that were before it at the time of the
                original sentence hearing, the district court cannot
                determine Hamilton’s drug quantity with enough specificity
                to decide whether Amendment 750 lowers his guidelines
                range, then Hamilton is ineligible for § 3582(c)(2) relief. As
                the § 3582(c)(2) movant, Hamilton bears the burden of
                showing that if Amendment 750 had been in effect at the time
                of his original sentencing, then he would have received a lower
                guidelines range. Cf. U.S.S.G. § 1B1.10(b)(1). If Hamilton
                cannot make that showing, then the court does not have the
                authority to reduce Hamilton’s sentence under § 3582(c)(2).

 United States v. Hamilton, 715 F.3d 328, 340-41 (11th Cir. 2013) (emphasis

 added). A divided Eighth Circuit agreed, in a case where the record did not

 disclose the respective proportions of crack, powder cocaine, and marijuana that

 produced a marijuana-equivalent calculation, and thus stymied application of a


 6 In Battle, the modification judge found the defendant responsible for 3.4 kilograms, id. at 1314,

 and granted only a limited reduction. Using the preponderance of the evidence standard, the
 Tenth Circuit said that the Presentence Report at the original sentencing “demonstrate[d] that
 Battle was responsible for somewhere between 1.8 and 3.4 kilograms,” id. at 1320, and remanded
 for resentencing at the 1.8 kilogram level. Id. at 1321.
 7 In Valentine, the Sixth Circuit did not address the burden issue burden directly, but its

 references to the “preponderance of the evidence in the record” as the standard, 694 F.3d at 670-
 74, are certainly consistent with the Ninth and Tenth Circuits’ approach. In United States v.
 Mann, the sentencing judge found that the defendant was responsible for “at least 1.5 kilograms.”
 709 F.3d 301, 303 (4th Cir. 2013). At the modification stage, the judge refused to find that the
 defendant was responsible for 8.4 kilograms. The Fourth Circuit “deferr[ed] to the sentencing
 court’s conclusion that it never made a finding that Mann was responsible for any specific
 quantity greater than 1.5 kilograms,” id. at 306, and said that the district court “did not err in
 exercising its discretion not to make additional findings more than a decade after the original
 sentencing.” Id. at 307.
                                                                                                  7
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 crack quantity amendment: “[the defendant] was the movant seeking to reduce

 the offense level pursuant to USSG § 1B1.10. If there is a failure of proof, then

 his motion fails.” United States v. Benson, 715 F.3d 705, 708 (8th Cir. 2013).

        In the absence of specific First Circuit guidance and in light of Guideline

 policy and Supreme Court teaching, I find the Ninth and Tenth Circuits’

 approaches persuasive. Certainly a defendant must first show that the Guideline

 amendment applies to his case, in the sense that his original sentence was based

 upon something that the Guideline amendment changed.                         Thus, a person

 convicted for marijuana distribution cannot show that the crack quantity

 amendment applies to him.8             Here, it is indisputable that the defendant’s

 sentence was based on crack quantity and that his new Guideline range is lower

 because both of the possible ranges are lower. At the same time, it has long been

 the rule in this Circuit that the government has the burden of establishing a

 drug quantity that will generate a particular Base Offense Level. See United

 States v. Sepulveda, 15 F.3d 1161, 1198 (1st Cir. 1993) (“For sentencing

 purposes, the government must prove drug quantities by a preponderance of the

 evidence.”).

        The applicable Guideline Policy Statement9 and the Supreme Court

 instruct that once I conclude that a Guideline amendment applies, I must



 8 A number of defendants have lost their sentence reduction requests because, although they

 were convicted of distributing crack, their sentences were ultimately based on career offender
 status, not crack quantity. See, e.g., United States v. Cardosa, 606 F.3d 16, 19 (1st Cir. 2010).
 9 Guideline 1B1.10(b)(1) says: “In determining whether, and to what extent, a reduction in the

 defendant’s term of imprisonment under 18 U.S.C. 3582(c)(2) and this policy statement is
 warranted, the court shall determine the amended guideline range that would have been
 applicable to the defendant if the amendment(s) to the guidelines . . . had been in effect at the
 time the defendant was sentenced.”
                                                                                                8
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 calculate the sentence as if the Guideline amendment had been in effect when I

 originally sentenced the defendant. See Dillon v. United States, 560 U.S. 817,

 827 (2010). If I had been applying Amendment 782 in 2009, and if the only

 evidence were that the defendant was responsible for somewhere between 500g

 and 1.5kg of crack, I would have found that the government had not met its

 burden of proof to show that the amount was 840 grams or more and thus I

 would have assigned this defendant a Base Offense Level of 30 with a resulting

 sentencing range of 168 to 210 months (Total Offense Level of 33 and Criminal

 History Category III). I conclude that this defendant is therefore entitled to seek

 a sentence reduction.

        The Eighth and Eleventh Circuits’ apparently contrary conclusions that

 impose the entire burden on the defendant are perplexing.10                        Where the

 Sentencing Commission has made clear that it intends to lower the Guideline

 sentences for crack11 and the defendant seeking a modification shows that he

 had a crack-based sentence; where the Commission and the Supreme Court

 have instructed that the modifying court should derive the sentence that the

 court would have derived if the amended sentencing Guideline had applied at

 the original sentencing; and where the government had the burden of proof at

 the original sentencing to establish relevant drug quantity, why impose the


 10 It is possible to distinguish the Eighth and Eleventh Circuit rulings because in this case the

 Guideline amendment lowers the Guideline range regardless of whether I select the high end or
 the low end of the parties’ stipulated drug quantity. But even as distinguished, I find their
 approach unpersuasive.
 11 It is indisputable that the crack quantity amendments were intended to lower sentences for

 crack convictions. See United States Sentencing Commission, Guidelines Manual, App. C-Vol.
 III, Amendment 750, at 393-94 (Nov. 1, 2011) (describing predicted crack sentence reductions
 under first round of crack quantity amendments).

                                                                                                9
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 burden on the defendant now to show that he was entitled to the lower part of a

 quantity range?12 That is not within the language of the sentencing statute, the

 Guidelines, or the Supreme Court’s reasoning in Dillon. It certainly does not

 further any purpose of the Commission, which made the crack quantity

 amendments retroactive. I therefore do not follow that approach and instead

 leave the burden with the government, as it was at sentencing.

        In recommending a sentence reduction, the 2015 Revised Presentence

 Report tells me that while in prison this defendant has earned his GED, held

 several work assignments, completed a diversity awareness class, and

 accumulated no disciplinary history.                  After considering the section 3553(a)

 factors, as well as public safety and post-sentencing conduct, U.S.S.G. § 1B1.10,

 Cmt. 1(B),13 I REDUCE his sentence to 168 months, the bottom of the new

 Guideline range. The Clerk’s Office shall prepare an AO-247 form accordingly.14

        SO ORDERED.

        DATED THIS 23RD DAY OF JULY, 2015

                                                         /S/D. BROCK HORNBY
                                                         D. BROCK HORNBY
                                                         UNITED STATES DISTRICT JUDGE




 12 There is no issue of “fault” in cases like this.Neither the defendant nor the government can
 be faulted for selecting a quantity range that avoided controversy under the original Guideline
 but creates confusion under the amendment. The modification judge’s role is to make a decision
 based upon review of the record of the original sentencing, not to shift the burden of proof.
 13 This is the second step of the “two-step inquiry” that Dillon says is established by § 3582(c)(2).

 560 U.S. at 826-27.
 14 It will be effective only as of November 1, 2015, as required by Guideline 1B1.10(e)(1). A

 concurrent 60-month sentence for another conviction is unaffected by this ruling.
                                                                                                   10
